       Case 2:20-cv-06393-RBS            Document 41        Filed 03/05/24      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

JUAN CARLOS ALONSO HIDALGO and                     §
FLORENTINO ALONSO HIDALGO,                         §
Individually, as co-Executors and Personal         §
Representatives of the Estate of Martha            §
Erika Alonso Hidalgo, et al.,                      §
                                                   §   Civil Action No. 2:20-cv-06393-RBS
                 Plaintiffs,                       §
            v.                                     §
                                                   §
AGUSTA WESTLAND PHILADELPHIA                       §
CORPORATION, et al.,                               §
                                                   §
                 Defendants.

STIPULATION SUPPLEMENTING ORDER OF DISMISSAL WITHOUT PREJUDICE

       The parties have conferred, agreed and hereby stipulate that, pursuant to Fed. R. Civ. P.

59(e) and/or 60(a)-(b), the Court’s February 1, 2024 Order, granting Defendants’ motion to dismiss

without prejudice is supplemented and subject to the following conditions:

       1.        Defendants Agusta Westland Philadelphia Corporation (“AWPC”) and Leonardo

S.p.A. (“Leonardo”) consent and/or agree to submit to the jurisdiction of a Mexican court of

appropriate venue and jurisdiction under Mexican law;

       2.        Defendants AWPC and Leonardo agree to accept service of process from a

Mexican court of appropriate venue and jurisdiction under Mexican law;

       3.        Defendants AWPC and Leonardo agree to toll any statute of limitations and/or not

raise any statute of limitations defense that might apply to any cause of action that was timely filed

in this Court that is later refiled within 90 days of the Court’s entry of this Stipulated Order by

these Plaintiffs in a Mexican court of appropriate venue and jurisdiction under Mexican law;

       4.        Defendants AWPC and Leonardo agree to produce and make available in the action

refiled by Plaintiffs in a Mexican court of appropriate venue and jurisdiction under Mexican law
       Case 2:20-cv-06393-RBS            Document 41        Filed 03/05/24      Page 2 of 3




all relevant evidence within their possession, custody, or control. This includes any documents

produced confidentially or pursuant to any protective order of a United States court. The

confidentiality of said documents will be maintained among the parties to the Mexican proceeding

and the Mexican court in accordance with the Mexican courts’ applicable rules and local

procedures;

       5.      The parties herein will jointly request that the Mexican court where this case is re-

filed enter a confidentiality order that provides the same protections as any protective orders

entered in any other litigation arising out of the accident in question, including but not limited to

the protective orders entered in the Georgia and North Carolina state courts.

       6.      Defendants AWPC and Leonardo agree to pay or cause to be paid any judgment

awarded against them in a Mexican court of appropriate venue and jurisdiction under Mexican law

subject to the Mexican court's rules on finality and the right of appeal;

       7.      Defendants AWPC and Leonardo agree that Plaintiffs may move to re-open this

case in the United States District Court for the Eastern District of Pennsylvania if the Mexican

courts reject, for jurisdictional or statute of limitations reasons, the subject matter of Plaintiffs’

claims such that those courts are not an available alternative forum for Plaintiffs;

       8.      Defendants AWPC and Leonardo agree to abide fully by their obligations in the

subsequent Mexican proceeding, and to make available in Mexico or a mutually agreeable

location, all evidence necessary for a fair and just resolution of this case, including documents and

witnesses.

       9.      If the action refiled by Plaintiffs in Mexico proceeds to a final resolution on the

merits, whether by trial, appeal, settlement or otherwise (including but not limited to a dismissal
        Case 2:20-cv-06393-RBS          Document 41          Filed 03/05/24    Page 3 of 3




on the merits or a voluntary discontinuance), then the parties will file an amended stipulation with

this Court dismissing this matter with prejudice.



Dated: March 5, 2024

SALMON, RICCHEZZA, SINGER                            KATZMAN, LAMPERT & STOLL
        & TURCHI, LLP
By:     /s/ Zachary J. Ballard                       By:    /s/ Bradley J. Stoll
Zachary J. Ballard, Esq.                             Bradley J. Stoll, Esq.
1601 Market Street, Suite 2500                       121 North Wayne Avenue, Suite 205
Philadelphia, PA 19103                               Wayne, PA 19087
(215) 606-6600 (Phone)                               (610) 686-9686 (Phone)
(215) 606-6601 (Fax)                                 (610) 686-9687 (Fax)
zballard@srstlaw.com                                 bstoll@klm-law.com

-and-                                                -and-

FITZPATRICK, HUNT & PAGANO,                          KREINDLER & KREINDLER, LLP
       LLP                                           Anthony Tarricone, Esq. (pro hac vice)
John M. Socolow, Esq. (pro hac vice)                 Vincent C. Lesch, III, Esq. (pro hac vice)
1 Landmark Square – 21st Floor                       485 Lexington Ave
Stamford, CT 06901                                   New York, NY 10117
(203) 580-4445 (Phone)                               (212) 687-8181 (Phone)
(203) 580-4350 (Fax)                                 (212) 972-9432 (Fax)
john.socolow@fitzhunt.com                            atarricone@kreindler.com
Attorneys for Defendants                             vlesch@kreindler.com
                                                     Attorneys for Plaintiffs


                                                     SO ORDERED.

                                                     s/ R. Barclay Surrick - 03/05/24
                                                     _____________________________
                                                     R. BARCLARY SURRICK, J.
